Case 15-17157-mdc        Doc 85 Filed 09/21/20 Entered 09/21/20 14:37:34                  Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re: Antonio E Winters,                            CHAPTER 13
         Debtor.
                                           BANKRUPTCY CASE NUMBER
 Nationstar Mortgage LLC,                  15-17157/MDC
       Movant,
 v.
 Antonio E Winters,
       Debtor,
 and
 William C. Miller, Trustee,
       Additional Respondent.
                             CERTIFICATION OF DEFAULT

       Kristen D. Little, Esquire, Attorney for Movant, certifies that Debtor has defaulted upon

the terms of this Court's Stipulation and Order dated July 27, 2018. It is further certified that the

attached notice, marked as Exhibit "A," was served upon the Debtor and Debtor's Attorney on

September 2, 2020. The Debtor has failed to cure the default as set forth in the Notice. The

Debtor has failed to make the following payments:

Regular payments of $778.06 from July 1, 2020 through September 1, 2020               $2,334.18;
Attorney Fees associated with this default                                              $300.00
Less Debtor’s Suspense                                                                 $(142.00)
TOTAL DEFAULT                                                                         $2,492.18

       Accordingly, pursuant to the Stipulation and Order, Movant respectfully requests this

Court to enter the attached Order granting Movant relief from the automatic stay.

                                                      Respectfully submitted,


                                                              /s/ Kristen D. Little
Dated: September 18, 2020                             BY:
                                                      Kristen D. Little, Esquire
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